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                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION


Norman McCrary,                            :   Case No. 1:91-CR-132-03
                                           :            (1:12-cv-18)
      Petitioner,                          :
                                           :
vs.                                        :
                                           :
United States of America,                  :
                                           :
      Respondent.                          :

                                    ORDER

      Petitioner/Defendant Norman McCrary has filed a motion to

vacate his “illegal sentence and conviction.”            (Doc. 285)

McCrary was sentenced by this Court on January 10, 2011 to a term

of 60 months incarceration on his supervised release violation.

His pending motion asks the Court to vacate his sentence based

upon ineffective assistance of counsel.           The Government opposes

the motion (Doc. 294), and McCrary has filed a reply. (Doc. 295)

                            FACTUAL BACKGROUND

      McCrary was originally convicted in 1992 of conspiracy to

distribute cocaine and cocaine base, and served an aggregate

sentence of 240 months incarceration.          He began his ten-year term

of supervised release on July 15, 2009, and immediately

encountered great difficulty in complying with the terms of his

release.   He declined offers of assistance from his probation

officer, and in November 2009 he was charged with felonious

assault in state court.       He was convicted in April 2010 and

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sentenced to eight years in prison.          The Ohio Court of Appeals

affirmed his conviction in November 2010.

        At the January 2011 revocation hearing, McCrary’s counsel

urged the Court to impose a concurrent sentence on the release

violation in view of McCrary’s as-yet uncompleted state sentence.

While he admitted the supervised release violation based on the

state charges, he also insisted that he was innocent of that

offense and that he was appealing to the Ohio Supreme Court.                The

Court imposed a 60-month consecutive sentence, noting that

McCrary’s new crime was both serious and violent, as he had

assaulted a woman with a brick.         He also incurred these new

charges only four months after beginning supervised release, and

he had spurned offers of assistance from his probation officer.

The Sixth Circuit affirmed McCrary’s sentence on November 22,

2011.    (Doc. 281)

                                 DISCUSSION

        McCrary’s pending motion raises five purported errors by his

counsel in representing him on his supervised release violation

proceedings.    To establish ineffective assistance, McCrary must

demonstrate (1) his counsel’s performance was constitutionally

deficient, and (2) a reasonable probability that the outcome

would have been different absent the deficient performance.

Strickland v. Washington, 466 U.S. 688 (1984).            A “reasonable

probability” is one sufficient to undermine confidence in the


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outcome.    Id. at 694.

     Recognizing that McCrary is appearing pro se, the Court will

liberally construe his motion and his pleadings filed in support.

He first argues that his counsel should have sought a stay of the

revocation hearing until his state court appeal was final and

complete.   McCrary’s conviction had already been affirmed by the

Ohio Court of Appeals at the time of the revocation hearing.                His

motion does not articulate any basis to conclude that a further

delay of the hearing, in the hope that the Ohio Supreme Court

might reverse that decision, would have produced a different

result, or that counsel’s failure to seek a delay caused him any

prejudice whatsoever.      It is also noteworthy that the Ohio

Supreme Court eventually rejected his appeal in May 2011, further

confirming the Court’s conclusion that he has not identified any

prejudice resulting from counsel’s failure.

     McCrary’s second claim of error argues that counsel failed

to call a “key witness” who would have testified that he was

innocent of the felonious assault charges.           McCrary has not

identified this “key witness,” nor offered any evidence or an

affidavit concerning what this witness might have testified about

if the witness had been called.         As the Government notes, a jury

had already convicted McCrary of the felonious assault charges

and the court of appeals had affirmed his conviction.              In the

absence of any facts or information about this alleged witness,


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McCrary has not demonstrated that he was prejudiced by his

counsel’s purported failure to present this witness during the

revocation hearing.

     McCrary’s third, fourth and fifth claims of error all relate

to his original sentencing.        He alleges that his counsel failed

to seek a departure based on the Fair Sentencing Act of 2010 and

resultant Guidelines changes to crack cocaine sentencing; failed

to argue that his original criminal history category was

incorrect because a state conviction was based on a void

judgment; and failed to request a departure based upon an

unlawful enhancement of his original sentence under 21 U.S.C. §

851(a).   Defendant had already completed his original sentence

and was on supervised release when he was charged and convicted

of felonious assault.

     With regard to the crack cocaine Guidelines, the recent

amendments would have no bearing upon the Court’s determination

of a fair and appropriate sentence based upon McCrary’s admitted

supervised release violations.        He was not charged with new drug

offenses.   With respect to his contention about a “void

judgment,” referring to his 1990 Ohio conviction for drug

trafficking, any alleged error of state procedural law with

respect to that judgment would have been irrelevant to his

federal sentencing upon his supervised release violation.               The

appropriateness of the enhancement of his original sentence that


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was sought by the Government under 21 U.S.C. § 851 also would not

bear upon this Court’s consideration of a sentence for the

supervised release violation.        Moreover, 21 U.S.C. § 851(b)

plainly states that any challenge to the Government’s assertion

of the existence of a prior conviction that is not timely raised

before sentence is imposed may not thereafter be raised to attack

the sentence.    McCrary’s claims of error relating to the amended

Guidelines and to his original sentencing proceedings lack

factual and legal support, and are therefore rejected.              And

because they lack support, McCrary’s counsel was not ineffective

in failing to raise these arguments at his revocation hearing.

     McCrary’s motion fails to establish or suggest that a

reasonable factual dispute exists in this case that would require

an evidentiary hearing.       The Court concludes that he is not

entitled to any relief, and his request for a hearing is

therefore denied.

                                 CONCLUSION

     For all of the foregoing reasons, it is ORDERED that

Petitioner’s motion to vacate his sentence pursuant to 28 U.S.C.

§ 2255 is DENIED.

     A certificate of appealability shall not issue on the

matters raised herein.      Petitioner may request issuance of a

certificate of appealability from the Court of Appeals.              See 28

U.S.C. § 2253(c); Fed. R. App. P. 22(b).           The Court certifies


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pursuant to 28 U.S.C. § 1915(a)(3) that an appeal of this Order

would not be taken in good faith, and therefore denies Petitioner

leave to appeal in forma pauperis.         See Fed. R. App. P. 24(a);

Kincade v. Sparkman, 117 F.3d 949, 952 (6th Cir. 1997).

     SO ORDERED.

DATED: February 28, 2012            s/Sandra S. Beckwith
                                    Sandra S. Beckwith
                                    Senior United States District Judge




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